   EXHIBIT 3


  FOIA EMAIL
CORRESPONDENCE
   WITH DOL
University of Hawaii Mail - Re: 865938                                     https://mail.google.coin/mail/ii/0?ik=ad0a05bc06&view=pt&se..




                     UNIVERSITY
           '          of HaVVAI'I                                                       Yawen Hsiao <yawen@hawali.edu>
                           SYSTEM




         Re: 865938
         1 message

         Yawen Hsiao <yawen@hawaii.edu>                                                        Wed, Jan 30, 2019 at 11:34 AM
         To: "Hicks, Thomas - SOL" <Hicks.Thomas@dol.gov>
         Co:"Karamoko, Arginia - SOL" <Karamoko.Arginia@doi.gov>,"March, Candy A - OASAM BOG"
         <March.Candy.A@doi.gov>,"Gonzaies-Magrath, Danieiie - OASAM HRC" <Gonzaies-
         Magrath.Danielle@dol.gov>, Ya-wen Hsiao <yawen@hawaii.edu>

            Hi, Mr. Hicks,

           Thank you for your quick response.

            i wiii await Ms. March or Ms. Gonzaies response to this email thread as i have not received this letter nor any
           records.


            if the records were indeed sent and was sent by first class mail, it most likely has been lost since it has been
            more than 2 weeks.


            if so, please send the records through expedited and traceable means and i will be happy to pay for the
           shipping and handling costs associated with this.

            i also note that this letter that you attached to your email, from Ms Gonzaies was not dated.

           OASAM has been included in this response so they can respond directly to me.

           Thank you.
           Yawen




            On Wed, Jan 30, 2019 at 10:35 AM Hicks, Thomas - SOL <Hicks.Thomas@dol.gov> wrote:

               Hello,



               I have included OASAM personnel in this response. The attached letter was entered into
               SIMS-FOIA on Jan. 8, 2019 and the letter indicates that documents were enclosed with the
               response letter. OASAM will send another letter with the responsive records.



               Thomas G. Hicks, Sr., ESQ.

               U.S. Department of Labor

               Office of ttie Solicitor


               200 Constitution. Ave. N.W.




lof8                                                                                                                     2/18/19,1:21 PM
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              Room N2434


              Washington, D.C. 20210


              (202)693-5427

              hlcks.thomas@dol.gov




              From: Yawen Hsiao <yawen(ghawali.edu>
              Sent: Wednesday, January 30, 2019 3:17 PM
              To: March, Candy A - OASAM BOG <March.Candy.A(gdol.gov>
              Cc: Karamoko, Arginia - SOL <Karamoko.Arginia(@DOL.GOV>; Hicks, Thomas - SOL
              <Hicks.Thomas(gdoi.gov>
              Subject: Re:865938



              Dear Ms. March,

              My name is Ya-Wen Hsiao and I have a FOIA request that was sent on August 22, 2018 which
              has a tracking number of 865938.

              You spoke with my husband on January 10, 2019 at around 9:45AM HST and informed him
              that it was completed and released completely on January 8, 2019. It was also mentioned that
              the date of completion on the FOIA tracking system was Incorrect and that you would email the
              person responsible to reflect the correct date on the DOL FOIA tracking website.
              As promised, we would be patient in receiving the documents. As of today, Januaiy 30, 2019,
              we have not received the documents that were released. Also, the FOIA tracking information
              still reflects the incorrect date. I am writing this email to follow up as to the status of these.
              Is there a tracking number for USPS/UPS/FedEx associated with this? If so, could you kindly
              provide this to ascertain what happened to the package?
              I am also cc-ing Arginia Karamoko and Thomas Hicks on this email as they are the DOL FOIA
              Liaisons.

              I hope that everyone is safe and well with the polar vortex affecting most of you.
              Aloha

              Yawen




              On Tub, Dec 4, 2018 at 9:21 AM Yawen Hsiao <yawen@hawaii.edu> wrote:

                 Hi, Mr. Hicks and Ms. Karamoko,




                 it has been one week since my iast emaii requesting my matter be escaiated.

                 There has been no response nor any acknowiedgement regarding my request as of today.



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                 The email did not return any bounce back notification hence I assume that it was received in order

                 Are there any updates on both the request to escalate or on the FOIA request as weii?

                 Please confirm receipt of this email.

                 i would also like to know the name and mailing address of the person in-charge.



                 Thank you.

                 Yawen




                 On Tue, Nov 27, 2018 at 7:44 AM Yawen Hsiao <yawen@hawaii.edu> wrote:

                    Heiio Ms. Karamoko and Mr. Hicks,




                   I am again, following up on my request that was sent on August 22, 2018.

                   It has been almost 100 days from when I sent this request. And about 66 business days.

                   I would like this matter to be escalated immediately to whoever is in charge.



                   As of today, we have not received any correspondence from OASAM. We got in touch with Candy
                   March and got the same answer that "it is being processed" but have not heard back.

                    It is important to note that DOL FOIA regulations wherein even in "unusual circumstances", requires
                   the component to notify me in writing.



                   And even if there are "unusual circumstances", the notice must be made in 20 days.

                   Please refer to the timeline in the last email sent to Mr. Hicks and you.

                    I am taking this as a sign of bad faith of the part of OASAM or whoever is supposed to be processing
                   this.

                   Again, this is a request to escalate this matter to your supervisor/director.

                    I would like to request a response to this matter in a expeditious manner.

                   Thank you



                   Yawen




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                   On Thu, Nov 15, 2018 at 9:52 AM Yawen Hsiao <yawen@hawaii.edu> wrote:

                      Mr. Hicks,




                      Thank you for responding and following up on this.

                      It Is appreciated.



                      Yawen




                      On Wed, Nov 14, 2018 at 6:27 AM Hicks, Thomas - SOL <Hicks.Thomas@dol.gov> wrote:

                         OASAM has informed me that they are processing your FOIA request and plans to
                         forward responsive records within the next week.



                         Thomas G. Hicks, Sr., ESQ.

                         U.S. Department of Labor

                         Office of the Solicitor


                         200 Constitution, Ave. N.W.


                         Room N2434


                         Washington, D.C. 20210

                         (202)693-5427

                         hicks.thomas@clol.gov




                         From: Hicks, Thomas - SOL
                         Sent: Tuesday, November 13, 2018 8:19 PM
                         To:'Yawen Hsiao' <yawen@hawaii.edu>; Karamoko, Arginia - SOL
                         <Karamoko.Arginia@dol.gov>
                         Subject: RE:865938



                         Hello,




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                         Your FOIA request has been assigned to OALJ. OALJ provided a partial response on
                         October 3, 2018 and requested that the FOIA request also be assigned to OASAM.
                         On October 3, 2018, your FOIA request was assigned to OASAM.


                         On a recent phone call, the requester (your husband) indicated that he had not
                         received a response from the Dept of Labor. Which was not correct. At that time, a
                         response had already been processed by OALJ. He (your husband) confirm after I
                         reviewed our database that a response was processed by OALJ. I did not state he
                         was lying, but it was incorrect for him to indicate that he had not received a response
                         from the Dept of Labor. After our conversation, I inquired to OASAM on October 31
                         and November 5, to determine that status of their response.



                         Thomas G. Hicks, Sr., ESQ

                         FOIA PUBLIC LIAISON.


                         U.S. Department of Labor

                         Office of ttie Solicitor


                         200 Constitution, Ave. N.W.

                         Room N2434


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                         (202)693-5427

                         hicks.thomas@doi.gov




                         From: Yawen Hsiao <yawen@hawaii.edu>
                         Sent: Tuesday, November 13, 2018 7:56 PM
                         To: Karamoko, Arginia - SOL <Karamoko.Arginia@DOL.GOV>
                         Co: Kate.OScannlain.Public@dol.gov; Hicks, Thomas - SOL
                         <Hicks.Thomas@dol.gov>
                         Subject: Re; 865938



                         Hello Arginia,



                         I am writing in regards to my FOIA request tracking number 865938.



                         On August 22, 2018, 1 sent a FOIA request through email.



                         On September 17, 2018, OALJ sent correspondence stating that they have received the request
                         on September 7, 2018 and is coordinating with the Office of the Assistant Secretary for



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                         Administration and Management(OASAM)with regards to the records we are requesting.



                         OALJ compieted the request on Oct 3,2018 and i have received the responsive documents
                         from OALJ on or around October 10, 2018.



                         On the DOL FOiA tracking portai, OASAM has indicated that the "Date to Completion" was
                         slated to be Oct 31,2018



                         Between Oct 31,2018 and today, my husband and i have tried numerous times to reach out to
                         your department to follow up on the status of this FOIA request.



                         You have been personally courteous and gracious in our interactions with you, and we
                         appreciate that.



                         My husband spoke with Mr. Thomas Hicks on November 5,2018. in that 2 minute phone call he
                         has indicated to me that Mr. Hicks was less than professional in his conversation with him,
                         implying that he lied in his voicemail to him and told him that "Facts Matter" because my
                         husband had mentioned that"no one has gotten back to us" with regards to the FOIA request.
                         He then in a very abusive tone chastised him in following up because the request was a "recent
                         request". The FACT is, my husband spoke with him on October 31, 2018 at 8AM Hawaii time,
                         during this time, my husband has already informed him that OALJ has responded and
                         compieted their part of the request. So to accuse him of lying is extremely offensive and
                         inappropriate. At the end of the October 31,2018 conversation he confirmed my email address
                         and said he would follow up and email me an update.



                         i write this email to formally follow up with this request.



                         in several phone conversations, you and Mr. Hicks indicated that OASAM only received the
                         request on or around Oct 7, 2018. How can this be possible when the last letter from OALJ
                         states that they received the request on September 7, 2018? it is also important to note that we
                         did track the request through the portai prior to the month of October and at the end of
                         September,the portai already has indicated that the estimated date to completion from OASAM
                         was October 31, 2018.




                         It has been more than 82 calendar days and more than 50 business days since the initial
                         request and we have not received any correspondence or notice from OASAM with regards to
                         the FOiA request.



                         We do realize that your department is a liason and the responsible office is the OASAM to
                         respond. But, to date, we have no correspondence or indication as to who is the responsible



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                         person for fulfilling this already unreasonably delayed FOIA request.



                         We have tried our best to be professional and courteous In all our Interactions with your
                         department. We have followed up numerous times and attempted to call without anyone picking
                         up every single phone line. It is disappointing that the "Public Liason" officer can be this
                         unprofessional and abusive.



                         I look fonward to your office addressing these issues as soon as possible.



                         Thank you.

                         Yawen




                         On Fri, Sep 21, 2018 at 7:30 AM Yawen Hsiao <yawen@hawaii.edu> wrote:

                            Hi, Arginia,

                            Thank you so much for forwarding the letter via email.

                            I sincerely appreciate your kind assistance.

                            Have a great weekend and warm Aloha

                            Yawen




                            On Fri, Sep 21, 2018 at 7:17 AM Karamoko, Arginia - SOL <Karamoko.Arginia@dol.gov>
                            wrote:


                               Hello,




                               Per our conversation, please see the attached letter from OALJ.



                               Arginia Karamoko
                               Government Information Specialist, Office of Information Services

                               Office of the Solicitor|Management & Administrative Legal Services

                               U.S. DEPARTMENT OF LABOR

                              200 Constitution Ave., N.W., N-2420
                                                                | Washington, DC 20210




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                               T:(202)693-5531 \ F:(202)693-5389|E: karamol<o.arginia@dol.gov




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